EXHIBIT 25
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                          DECLARATION OF DONALD INGBER

I, Donald Ingber, hereby declare as follows:

       1.      I am the Founding Director of the Wyss Institute for Biologically Inspired Engi-

neering at Harvard University, the Judah Folkman Professor of Vascular Biology at Harvard Med-

ical School and the Vascular Biology Program at Boston Children’s Hospital, and the Hansjörg

Wyss Professor of Biologically Inspired Engineering at the Harvard John A. Paulson School of

Engineering and Applied Sciences.

       2.      I have held an appointment at Harvard University since 1984 and been a member

of the faculty of Harvard University since 1988.

       3.      I received my B.A., M.A., M.Phil., M.D. and Ph.D. from Yale University.

       4.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.
       6.      My research focuses on biomimetic microsystems. These systems use methods of

miniaturization originally developed in the computer industry for manufacturing microchips to

build devices with functional circuits that use living cells as their components. Using these tech-

niques, we are developing human organ-on-a-chip (“Organ Chip”) technology—tiny, complex,

three-dimensional models with hollow channels lined by different types of cells and tissues that

recapitulate the structure and function of human organs.

       7.      Through my work I have authored over 600 publications and almost 200 patents,

and I have founded 8 companies. I have presented more than 625 plenary presentations and been

invited to lectures across the world.

       8.      I am a member of the National Academy of Engineering, the National Academy of

Medicine, the National Academy of Inventors, the American Institute for Medical and Biological

Engineering, and the American Academy of Arts and Sciences.

       9.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter, and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11




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Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       10.     I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       11.     I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       12.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       13.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds for my work specifically or the Wyss Institute more

broadly.




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Research Funding

       14.     Until April 14, I was actively working on two federally funded projects utilizing

my human Organ Chip work.

       15.     The first project uses Organ Chip technology to study how the human lung, intes-

tine, bone marrow, and lymph node respond to radiation and to identify drugs that can mitigate the

effects of that radiation. Funding for this project came from the Center for the Biomedical Ad-

vanced Research and Development Authority (“BARDA”) and supports 21 positions in my lab,

including 3 graduate students, 1 intern, 2 postdoctoral fellows, 5 technicians, and 10 technical staff

members. This work will contribute to improved public safety by developing additional radiation

countermeasure drugs as the country ramps up nuclear power production to support the energy-

intensive artificial intelligence industry. These countermeasures also would be available in the case

of a nuclear attack and to alleviate toxic side effects in cancer patients who receive radiation ther-

apy.

       16.     The second project uses Organ Chip technology to study the effects of microgravity

and radiation on astronauts during spaceflight. Funding for this project came from BARDA with

support from the National Aeronautics and Space Administration (“NASA”) and supports 5 posi-

tions in my lab, including 5 technical staff members. This project was developing specialized bone

marrow chips incorporating cells from individual astronauts to study the effects of this micrograv-

ity and radiation on their bone marrow. These specialized chips were scheduled to fly aboard the

Artemis II mission to the moon alongside the astronauts who donated the cells. This work is critical

to our ultimate ability to explore Mars, because protecting astronauts from radiation toxicity re-

mains a major barrier to the long-distance space travel necessary to explore the solar system.




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       17.     On April 14, I received 2 notices from the federal government directing me to stop

work on both these projects.

       18.     I immediately stopped incurring expenses on those projects pursuant to the terms

of these stop work orders and have not resumed doing so. As a result, no work is currently hap-

pening in my lab on either project. I have been forced to halt experiments midstream; these exper-

iments cannot simply be restarted when or if funding resumes, and so I have lost the value of the

effort expended on each such experiment to date. Similarly, the progress of my students and post-

doctoral fellows working on papers or theses projects based on these projects has been lost. I can

no longer support the staff for these projects and have been forced to make difficult decisions about

shifting employees to other areas of work with intact funding or allocating internal funds to protect

their positions. If this funding is not restored soon, I will have to terminate many of these positions.

       19.     Even these steps have not allowed us to maintain all our staff. For example, a Eu-

ropean post-doctoral scientist who had accepted a position with the Wyss Institute recently with-

drew his acceptance. And another European scientist who had been working at the Wyss Institute

for roughly six months recently asked me to support her application for a new position in a labor-

atory in The Netherlands given the uncertainty around our funding situation, and I did so. I under-

stand many other scientists and employees in the Wyss Institute are terrified of potentially losing

their jobs as a result of the funding situation at Harvard.

       20.     Shortly after receiving the stop work order, my team was unable to participate in

an important meeting related to the upcoming use of our chips on the Artemis II space mission,

jeopardizing our ability to meet the deadlines associated with that project. In an attempt to salvage

this important project, meet the deadlines necessary to participate in the Artemis II mission, and

protect the livelihood of the staff members who rely on me for jobs, I have been forced to explore




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shifting work associated with this project and many of the associated staff positions out of the

Wyss Institute to a private company. Doing so will cost me and the Wyss Institute the prestige

associated with our work, the ability to participate in a groundbreaking space mission, and, ulti-

mately, the benefit of the positive-feedback loop associated with such high-profile scientific ac-

complishments. These sort of reputational benefits—which I will now lose—were invaluable for

me in the past as I developed my career as an academic, inventor, and entrepreneur.

        21.     I currently have multiple funding proposals submitted to government agencies, in-

cluding the Advanced Research Project Agency for Health (“ARPA-H”) and Defense Threat Re-

duction Agency (“DTRA”), which I am concerned will not receive funding given the government’s

position.

        22.     Since receiving the stop-work order on April 14, I have spent roughly ninety per-

cent of my time managing this crisis.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                  Signed:

                                                     Donald Ingber, M.D., Ph.D.
                                                     Founding Director
                                                     Wyss Institute for Biologically Inspired En-
                                                     gineering at Harvard University




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